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The Roman Catholic Church of the Archdiocese of New Orleans
(Debtor-in-possession)
Consolidated Income Statement


                                                                                             April 30, 2025

Revenue, Gains, and Other Support
 Assessments to affiliated entities:
   Archdiocesan support                                                                  $             615,630
   Priest health insurance and retirement                                                              280,445
   Insurance income                                                                                  3,334,832
 Fee revenue                                                                                           450,270
 Contributions and grants                                                                              220,561
  Tuition and Fees, net                                                                              4,962,637
 Student activities                                                                                     89,597
 Student services income                                                                                87,366
 Church income                                                                                          97,291
 Rental income and royalties                                                                            79,282
 Fundraising and development                                                                           781,273
 Interest income - deposit and loan fund                                                               283,260
 Special events income                                                                                  81,125
 Investment income (loss), net                                                                         451,767
 Other income                                                                                          101,448
Total income                                                                                        11,916,781

Expenses
 Program expenses:
   Ministries                                                                                        1,787,386
   Supporting service to parishes and other related agencies                                         2,792,857
   Instructional                                                                                     2,589,275
   Auxiliary services                                                                                  609,780
 Supporting services:
   Administration                                                                                    1,496,569
   Development and fundraising                                                                         290,172
 Operations and maintenance of plant                                                                   916,118
 Other                                                                                                 147,402
 Reorganization costs                                                                                1,036,478
Total expenses                                                                                      11,666,037

Non-operating revenues (expenses)
 Investment income (loss), net                                                                         442,228
   Less spending distribution                                                                         (236,504)
 Investment income (loss), net of spending distribution                                                205,724
Grants and donations related to hurricanes                                                             865,486
Distributions of grants and donations to affiliates                                                   (114,900)
Additional minimum post OPEB liability adjustment                                                          -
Additional minimum pension liability adjustment                                                            -
Change in net assets                                                                                 1,207,054

Net Assets
 Beginning balance                                                                                 126,114,327
 Ending balance                                                                          $         127,321,381



The Debtor is still in the process of reviewing its financial accounts. The Debtor does anticipate some future adjustments to some of the reported
amounts. In addition, the Debtor is still in the process of assessing and evaluating the impact of the damages resulting from Hurricane Ida, a
Category 4 storm, which struck the Greater New Orleans area on August 29, 2021. As a result, adjustments to the reported amounts related to the
impact of Hurricane Ida are adjusted as they become known.
